(Rev. 4/24) Petition for Admission Pro Hac Vice

IN THE UNITED STATES DISTRICT COURT FOR
THE WESTERN DISTRICT OF MISSOURI

PETITION FOR ADMISSION PRO HAC VICE

Affidavit of Movant
I, James J. Kernell , an active member in good standing of the Bar of the United States
District Court for the Western District of Missouri, request that this court admit pro hac vice,
Rom Bar-Nissim , an attorney admitted to practice in a United States District Court, but not admitted to the

Bar of this court, who will be counsel for thePlaintiff Ted Entertainment, Ing.in the case(s) listed below. I am aware that the
local rules of this court require that I participate in the preparation and presentation of said case(s), and that I accept
service of all papers served. I also understand and agree that if the admittee does not sign up to receive CM/ECF filings, I
will be responsible for notifying the admittee of all papers served by CM/ECF.

48850
sel Ret f Movant/Attorney MO Bar Number
June 19, 2025 7285 West 132nd Street, Suite 340
Date Address
913-549-4700 Overland Park, Kansas 66213
Phone

Affidavit of Proposed Admittee

I, Rom Bar-Nissim , certify that I reside outside the
boundaries of the Western District of Missouri and I am not admitted to the Bar of this court. I am a member in good
standing in the state(s) of California and the United States District Court(s) of
the Central District of California and District of Columbia . (Attach additional page if necessary.)

Pursuant to Local Rule 83.5(h), I certify I am a member in good standing in all bars of which I am a member. I
understand that if this court grants me admission pro hac vice, the movant bringing this motion must participate in the
preparation and presentation of the matters listed below, and must accept service of all papers served. I am aware that I
can register to receive CM/ECF filings. I understand and agree that should I choose not to register for CM/ECF, I will
arrange with movant to keep me advised of papers served and filed in this case.

Case Number(s): Case Title(s)
4:25-cv-459 Ted Entertainment, Inc. v. Caviness et al.

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Date: June 19, 2025 Signature:
State Bar of Residence & Bar Number: Address: 1801 Century Park East, Ste. 2400
293356
Los Angeles, CA 90067
Phone: 310-432-2836 Email: Rom@HeahBarNissim.com

Pursuant to WDMO Local Rule 83.5(g) a fee of $100 is required for each case in which the attorney is seeking
admittance.

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